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WOJCIECH JACKOWSKI
+1 (212) 545-1900
wjackowski@offitkurman.com

                                                        July 1, 2021

The Honorable Brian M. Cogan
United Stated District Court
Easter District of New York
225 Cadman Plaza East
Brooklyn, New York 11201


       Re:     136-61 Roosevelt LLC v. Starbucks Corporation
               Civil Action No.: 21-cv-03560-BMC

Dear Judge Cogan:

        We write on behalf of defendant Starbucks Corporation in response to the Court’s
sua sponte Order to Show Cause why this case should not be remanded, and seek leave to
file an amended notice of removal in this matter to clarify allegations in the initial notice.
Starbucks filed a notice of removal pursuant to 28 U.S.C. § 1446(a) in the office of the
Clerk of the United States District Court for the Eastern District of New York on June 23,
2021 (Dkt. No. 1) to commence the above-reference matter. Please accept this letter brief
as the defendant’s written response to the Court’s Order to Show Cause.

        Following plaintiff 136-61 Roosevelt LLC’s appearance in this action on June 28,
2021 (Dkt. No. 5), Starbucks contacted counsel for plaintiff to ascertain the citizenship of
plaintiff’s membership. Plaintiff’s counsel, by correspondence dated June 30, 2021,
annexed hereto as Exhibit A, confirmed that none of plaintiff’s members are citizens in the
State of Washington. Unfortunately, Plaintiff’s counsel was unable to specifically identify
plaintiff’s members or their citizenship. Pursuant to Local Rule 81.1, Starbucks states that
it does not know the residence, domicile, or citizenship of Plaintiff’s members, and
respectfully asks the Court allow it to file a further amended notice of removal after
Plaintiff provides the Court with the jurisdictional information required by Rule 81.1.

        As noted in the Court’s Order to Show Cause, the Notice of Removal does not fully
plead the diversity of the parties. However, defective allegations of jurisdiction may be
amended. See 28 U.S.C. § 1653. Even beyond the 30-day removal period set forth in 28
U.S.C. § 1446, federal courts have the discretion to allow amendments to a notice of
removal that clarify defective allegations in the notice of removal. See Certain
Underwriters at Lloyd’s London v. Art Crating, Inc., No. 12-CV-5078, 2014 WL 123488,
at *13 (E.D.N.Y. Jan. 10, 2014) (“A defendant may also amend its notice of removal after
thirty days if the amendment is merely technical.”); CBS Inc. v. Snyder, 762 F.Supp. 71,
74-76 (S.D.N.Y. 1991). “‘When diversity is not absent from a notice of removal but is
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defectively alleged,’ courts typically permit the removing party to amend its notice of
removal.” Linium, LLC v. Bernhoit, No. 1:17-CV-0200, 2017 WL 2599944, at *3
(N.D.N.Y. June 15, 2017) (quoting Grow Grp., Inc. v. Jandernoa, No. 94-CV-5679, 1995
WL 60025, at *2 (S.D.N.Y. Feb. 10, 1995)); see also Alvarado v. New England Motor
Freight, Inc., No. 18 CV 2027 (RML), 2018 WL 4043151, at *3 n.1 (E.D.N.Y. Aug. 24,
2018).

        Starbucks respectfully seeks leave to file an Amended Notice of Removal, annexed
hereto as Exhibit B, to clarify its prior submission by (i) stating that the address provided
for Starbucks in the Complaint (which was filed with the initial Notice of Removal) is
Starbucks principal place of business, thereby confirming that that Starbucks is a citizen of
the State of Washington; and (ii) affirmatively establishing, through the mechanism
provided in Local Civil Rule 81.1, the citizenship of plaintiff’s members, which, based on
counsel’s representation, is fully diverse from Starbucks.

                                                      Respectfully submitted,



                                                      Wojciech Jackowski

Enclosure:

cc:    Benjamin Z. Koblentz, Esq.




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